                    IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE AT COOKEVILLE

 BECKY A. SELBY,                             )
                                             )
        Plaintiff/Counter-Defendant,         )
                                             )       2:20-CV-00016
 v.                                          )
                                             )       Chief Judge Crenshaw
 HOLLY T. SCHROEDER,                         )       Magistrate Judge Newbern
                                             )
        Defendant/Counter-Plaintiff.         )

                                         WITNESS LIST

       Comes now, Plaintiff/Counter-Defendant, Becky A. Selby (“Ms. Selby”), by and through

counsel, and submits her Witness List:

       A.     Becky A. Selby
              179 Enders Road
              Halifax, Pennsylvania 17032

              Ms. Selby is expected to testify as to the facts and circumstances surrounding the
              claims and defenses asserted in this matter.

       B.     Art Selby
              179 Enders Road
              Halifax, Pennsylvania 17032

              Mr. Selby is expected to testify as to his knowledge of both his and Ms. Selby’s
              interactions and communications with Holly T. Schroeder, David Schroeder, and
              Dr. John O’Brien. Mr. Selby is also expected to testify about the various claims
              and defenses asserted in this matter and the facts underlying same. He is also
              expected to testify as to the effects and damages sustained by Ms. Selby as a result
              of Holly T. Schroeder’s conduct.

       C.     Holly T. Schroeder
              1075 Reese Road
              Bethpage, Tennessee 37022

              Holly T. Schroeder is expected to provide testimony as to the claims, counter-
              claims, and defenses asserted in this matter.




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   D.    David Schroeder
         1075 Reese Road
         Bethpage, Tennessee 37022

         Mr. Schroeder is expected to have information regarding the parties’ agreement and
         the origination of any purported written agreement.

   E.    Dr. John O’Brien
         8970 Nashville Road
         Bowling Green, Kentucky 42101

         Dr. O’Brien is believed to be knowledgeable about Ms. Selby’s picking up the horse
         and the agreement with Holly T. Schroeder regarding this matter.

   F.    Rory Williams
         250 North Ellington Parkway
         Lewisburg, Tennessee 37091

         Mr. William is believed to be knowledgeable about Ms. Selby’s attempts to obtain
         transfer of the registration, and knowledgeable of publication of defamatory
         statements by Holly T. Schroeder.

   G.    Any witnesses identified by Defendant/Counter-Plaintiff, Holly T. Schroeder



                                              Respectfully submitted,



                                              /s/ W. Brantley Pierce
                                              Ben M. Rose (#21254)
                                              W. Brantley Pierce (#34603)
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                                              Attorneys for the Plaintiff/Counter-
                                              Defendant, Becky A. Selby




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served upon the
following counsel of record via the Court’s electronic case filing system, this 8th day of February,
2022.

 Cynthia A. Sherwood (#20911)
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                                                      s/ W. Brantley Pierce
                                                      W. Brantley Pierce




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